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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,

vs.                                                 CASE NO. 5:07-cr-36/RS-GRJ

VERNON WINSTON HENRY,

      Defendant.
_________________________________________ /

                                           ORDER
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         Before me is the Magistrate Judge’s Report and Recommendation (Doc. 269). No

objections have been filed.

IT IS ORDERED:

      1. The Magistrate Judge’s Report and Recommendation is adopted and incorporated

         by reference in this Order.

      2. The Motion to Vacate (Doc. 223) is DENIED.

      3. The certificate of appealability is DENIED because Defendant has not made a

         substantial showing of a denial of a Constitutional right.



ORDERED on March 16, 2012.

                                                   /S/ Richard Smoak
                                                   RICHARD SMOAK
                                                   UNITED STATES DISTRICT JUDGE
